Case 2:19-cv-01662-VAP-SK Document 1 Filed 03/07/19 Page 1 of 7 Page ID #:1
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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

          Chris Langer,                           Case No.

                  Plaintiff,
                                               Complaint For Damages And
            v.                                    Injunctive Relief For Violations
                                               Of: American’s With Disabilities
          2448 Wilshire Boulevard, LLC, a         Act; Unruh Civil Rights Act
       California Limited Liability
          Company;
       Aorta Restaurant Operating, L.P.,
          a California Limited Partnership;
       and Does 1-10,
               Defendants.

           Plaintiff Chris Langer complains of 2448 Wilshire Boulevard, LLC, a
   California Limited Liability Company; Aorta Restaurant Operating, L.P., a
   California Limited Partnership; and Does 1-10 (“Defendants”), and alleges as
   follows:
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       PARTIES:
       1. Plaintiff is a California resident with physical disabilities. He is a


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      Complaint
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Case 2:19-cv-01662-VAP-SK Document 1 Filed 03/07/19 Page 2 of 7 Page ID #:2
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    paraplegic who cannot walk and who uses a wheelchair for mobility. He has a
    specially equipped van with a ramp that deploys out of the passenger side of
    his van and he has a Disabled Person Parking Placard issued to him by the State
    of California.
        2. Defendant 2448 Wilshire Boulevard, LLC owned the real property
    located at or about 2454 Wilshire Blvd., Santa Monica, California, in February
    2019.
        3. Defendant 2448 Wilshire Boulevard, LLC owns the real property
    located at or about 2454 Wilshire Blvd., Santa Monica, California, currently.
       4. Defendant Aorta Restaurant Operating, L.P. owned Wilshire
   Restaurant located at or about 2454 Wilshire Blvd., Santa Monica, California,
   in February 2019.
       5. Defendant Aorta Restaurant Operating, L.P. owns Wilshire Restaurant
   (“Restaurant”) located at or about 2454 Wilshire Blvd., Santa Monica,
   California, currently.
       6. Plaintiff does not know the true names of Defendants, their business
   capacities, their ownership connection to the property and business, or their
   relative responsibilities in causing the access violations herein complained of,
   and alleges a joint venture and common enterprise by all such Defendants.
   Plaintiff is informed and believes that each of the Defendants herein,
   including Does 1 through 10, inclusive, is responsible in some capacity for the
   events herein alleged, or is a necessary party for obtaining appropriate relief.
   Plaintiff will seek leave to amend when the true names, capacities,
   connections, and responsibilities of the Defendants and Does 1 through 10,
   inclusive, are ascertained.
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       JURISDICTION & VENUE:
       7. The Court has subject matter jurisdiction over the action pursuant to 28


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      Complaint
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Case 2:19-cv-01662-VAP-SK Document 1 Filed 03/07/19 Page 3 of 7 Page ID #:3
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    U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
    Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
        8. Pursuant to supplemental jurisdiction, an attendant and related cause
    of action, arising from the same nucleus of operative facts and arising out of
    the same transactions, is also brought under California’s Unruh Civil Rights
    Act, which act expressly incorporates the Americans with Disabilities Act.
        9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
    founded on the fact that the real property which is the subject of this action is
    located in this district and that Plaintiff's cause of action arose in this district.
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       FACTUAL ALLEGATIONS:
       10.Plaintiff went to the Restaurant in February 2019 with the intention to
   avail himself of its goods or services and to assess the business for compliance
   with the disability access laws.
       11.The Restaurant is a facility open to the public, a place of public
   accommodation, and a business establishment.
       12.Parking spaces are one of the facilities, privileges, and advantages
   offered by Defendants to patrons of the Restaurant.
       13.Unfortunately, on the date of the plaintiff’s visit, the defendants did not
   provide accessible parking in conformance with the ADA Standards.
       14.Currently, the defendants do not provide accessible parking in
   conformance with the ADA Standards.
       15.Plaintiff personally encountered this barrier.
       16.By failing to provide accessible parking, the defendants denied the
   plaintiff full and equal access.
       17.The lack of accessible parking created difficulty and discomfort for the
   Plaintiff.
       18.Restrooms are another one of the facilities, privileges, and advantages


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      Complaint
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Case 2:19-cv-01662-VAP-SK Document 1 Filed 03/07/19 Page 4 of 7 Page ID #:4
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    offered by Defendants to patrons of the Restaurant.
        19.Meanwhile, and even though the plaintiff did not confront the barrier,
    the defendants do not provide an accessible restroom in conformance with the
    ADA Standards.1
        20.The defendants have failed to maintain in working and useable
    conditions those features required to provide ready access to persons with
    disabilities.
        21.The barriers identified above are easily removed without much
    difficulty or expense. They are the types of barriers identified by the
   Department of Justice as presumably readily achievable to remove and, in fact,
   these barriers are readily achievable to remove. Moreover, there are numerous
   alternative accommodations that could be made to provide a greater level of
   access if complete removal were not achievable.
       22.Plaintiff will return to the Restaurant to avail himself of goods or
   services and to determine compliance with the disability access laws once it is
   represented to him that the Restaurant and its facilities are accessible. Plaintiff
   is currently deterred from doing so because of his knowledge of the existing
   barriers and his uncertainty about the existence of yet other barriers on the
   site. If the barriers are not removed, the plaintiff will face unlawful and
   discriminatory barriers again.
       23.Given the obvious and blatant nature of the barriers and violations
   alleged herein, the plaintiff alleges, on information and belief, that there are
   other violations and barriers on the site that relate to his disability. Plaintiff will
   amend the complaint, to provide proper notice regarding the scope of this
   lawsuit, once he conducts a site inspection. However, please be on notice that
   the plaintiff seeks to have all barriers related to his disability remedied. See
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      Complaint
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Case 2:19-cv-01662-VAP-SK Document 1 Filed 03/07/19 Page 5 of 7 Page ID #:5
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    Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
    encounters one barrier at a site, he can sue to have all barriers that relate to his
    disability removed regardless of whether he personally encountered them).
 
    I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
    WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
    Defendants.) (42U.S.C. section 12101, et seq.)
        24.Plaintiff re-pleads and incorporates by reference, as if fully set forth
    again herein, the allegations contained in all prior paragraphs of this
   complaint.
       25.Under the ADA, it is an act of discrimination to fail to ensure that the
   privileges, advantages, accommodations, facilities, goods and services of any
   place of public accommodation is offered on a full and equal basis by anyone
   who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
   § 12182(a). Discrimination is defined, inter alia, as follows:
             a. A failure to make reasonable modifications in policies, practices,
                or procedures, when such modifications are necessary to afford
                goods,     services,   facilities,   privileges,    advantages,     or
                accommodations to individuals with disabilities, unless the
                accommodation would work a fundamental alteration of those
                services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
             b. A failure to remove architectural barriers where such removal is
                readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
                defined by reference to the ADA Standards.
             c. A failure to make alterations in such a manner that, to the
                maximum extent feasible, the altered portions of the facility are
                readily accessible to and usable by individuals with disabilities,
                including individuals who use wheelchairs or to ensure that, to the


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      Complaint
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Case 2:19-cv-01662-VAP-SK Document 1 Filed 03/07/19 Page 6 of 7 Page ID #:6
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                  maximum extent feasible, the path of travel to the altered area and
                  the bathrooms, telephones, and drinking fountains serving the
                  altered area, are readily accessible to and usable by individuals
                  with disabilities. 42 U.S.C. § 12183(a)(2).
        26.When a business provides parking for its customers, it must provide
    accessible parking in compliance with the ADA Standards.
        27.Here, the lack of accessible parking is a violation of the law.
        28.When a business provides facilities such as a restroom, it must provide
    an accessible restroom in compliance with the ADA Standards.
       29.Here, no such accessible restroom has been provided.
       30.The Safe Harbor provisions of the 2010 Standards are not applicable
   here because the conditions challenged in this lawsuit do not comply with the
   1991 Standards.
       31.A public accommodation must maintain in operable working condition
   those features of its facilities and equipment that are required to be readily
   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
       32.Here, the failure to ensure that the accessible facilities were available
   and ready to be used by the plaintiff is a violation of the law.

   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
   Code § 51-53.)
       33.Plaintiff repleads and incorporates by reference, as if fully set forth
   again herein, the allegations contained in all prior paragraphs of this
   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
   that persons with disabilities are entitled to full and equal accommodations,
   advantages, facilities, privileges, or services in all business establishment of
   every kind whatsoever within the jurisdiction of the State of California. Cal.


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      Complaint
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Case 2:19-cv-01662-VAP-SK Document 1 Filed 03/07/19 Page 7 of 7 Page ID #:7
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    Civ. Code §51(b).
        34.The Unruh Act provides that a violation of the ADA is a violation of the
    Unruh Act. Cal. Civ. Code, § 51(f).
        35.Defendants’ acts and omissions, as herein alleged, have violated the
    Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
    rights to full and equal use of the accommodations, advantages, facilities,
    privileges, or services offered.
        36.Because the violation of the Unruh Civil Rights Act resulted in difficulty,
    discomfort or embarrassment for the plaintiff, the defendants are also each
   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
   (c).)

             PRAYER:
             Wherefore, Plaintiff prays that this Court award damages and provide
   relief as follows:
           1.For injunctive relief, compelling Defendants to comply with the
   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
   plaintiff is not invoking section 55 of the California Civil Code and is not
   seeking injunctive relief under the Disabled Persons Act at all.
           2.Damages under the Unruh Civil Rights Act, which provides for actual
   damages and a statutory minimum of $4,000 for each offense.
           3.Reasonable attorney fees, litigation expenses and costs of suit, pursuant
   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
   Dated: March 5, 2019                 CENTER FOR DISABILITY ACCESS
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                                           By:

                                        ____________________________________

                                              Chris Carson, Esq.
                                                 Attorney for plaintiff


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      Complaint
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